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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

KIRA FLORECE                                 )
on behalf of herself and others              )
similarly situated,                          )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )       Case No.: 2:20-cv-2339
                                             )
JOSE PEPPER’S RESTAURANTS,                   )
L.L.C. and EDWARD J.                         )
GIESELMAN,                                   )
                                             )
      Defendants.                            )
____________________________

       UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF AMENDED
         STIPULATION OF SETTLEMENT AGREEMENT AND RELEASE

       COMES NOW, Named Plaintiff and proposed class representative Kira Florece and

hereby moves this Court to enter an order granting conditional certification under § 216(b) of the

Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), and Rule 23 certification under

Missouri’s Minimum Wage Laws Mo. Rev. Stat. § 290.500, et seq., (“MMWL”). On August 16,

2021, this Court granted these requests (Doc. 89). The Court also requested additional

information from the Parties and corrections regarding the proposed Stipulation of Settlement

Agreement and Release and the related class notices. In turn, Plaintiff seeks preliminary

approval of the Parties’ Amended Stipulation of Settlement Agreement and Release. In support

of this Motion, Plaintiff has contemporaneously filed a supporting memorandum. Attached to

that memorandum as Exhibit E is the fully executed Amended Stipulation of Settlement

Agreement and Release. Defendants are not opposed to the requests made herein.

       WHEREFORE, Plaintiff respectfully requests that this Court issue an order granting

preliminary approval of the Amended Stipulation of Settlement Agreement and Release, an order

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approving the issuance of the Notice referenced therein under said Agreement’s terms and

conditions, and an order setting a final fairness hearing before the Court (to occur on a date more

than 60 days after issuance of said order).

Respectfully submitted,




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                                      Certificate of Service

I hereby certify that on September 3, 2021 a copy of the above was sent via this Court’s
CM/ECF policies and procedures to all parties’ counsel as registered with the Court:

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